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         In the United States Court of Federal Claims
                                            No. 09-506C

                                         (Filed: July 9, 2010)
                                              __________
 RICHARD J. REILLY,                                 *   Military pay case; Motion to dismiss for
                                                    *   lack of jurisdiction or, alternatively, for
                         Plaintiff,                 *   failure to state a claim – RCFC 12(b)(1) and
                                                    *   12(b)(6); Tucker Act – 28 U.S.C. § 1491;
         v.                                         *   Money-mandating statute; 37 U.S.C. § 204
                                                    *   inapplicable; 37 U.S.C. § 206 – reservist
 THE UNITED STATES,                                 *   not entitled to pay for constructive service
                                                    *   or for rank to which he was not appointed;
                         Defendant.                 *   Absent monetary judgment, no jurisdiction
                                                    *   to provide ancillary equitable relief under
                                                    *   28 U.S.C. § 1491(a)(2); 28 U.S.C. § 1631;
                                                    *   Transfer of nonmonetary claims to district
                                                    *   court ordered; Interests of justice.
                                              _________

                                              ORDER
                                             __________

        Dale F. Saran, West Greenwich, RI, for plaintiff.

     John S. Groat, Civil Division, United States Department of Justice, Washington, D.C., with
whom was Assistant Attorney General Tony West, for defendant.

ALLEGRA Judge:

         Richard Reilly (plaintiff) seeks, inter alia, restoration of rank, as well as all emoluments
and pay to which he is entitled following his involuntary separation from the U.S. Marine Corps
(the Corps), for twice failing selection for promotion to Major. He alleges that he was selected for
promotion but that his name was improperly removed from the promotion list. And he asserts that
the Board for Correction of Naval Records (BCNR) improperly failed to correct this error.
Defendant has moved to dismiss plaintiff’s complaint, claiming, pursuant to RCFC 12(b)(1), that
this court lacks jurisdiction, or, alternatively, pursuant to RCFC 12(b)(6), that the complaint fails to
state a claim upon which relief can be granted.
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                                                  I.

       A brief recitation of the facts provides necessary context.1

        In 1993, plaintiff was commissioned as an officer in the Corps. In 1998, while deployed in
Norway, plaintiff became inebriated while on liberty and inappropriately touched a female enlisted
Marine while traveling back to base on the liberty bus. Plaintiff accepted nonjudicial punishment
pursuant to 10 U.S.C. § 815, and was found guilty of violating Article 133 of the Uniform Code of
Military Justice, 10 U.S.C. § 933, for engaging in conduct unbecoming an officer and a gentleman.
He was issued a letter of reprimand, and forfeited $500.00 of his monthly pay for two months. On
August 19, 1998, a board of inquiry determined that he had demonstrated substandard performance
of duty and committed misconduct, but, nevertheless, recommended that he be retained in the
Corps. Further administrative action on this matter was later dropped.

        Plaintiff continued to serve on active duty until 2001, when he resigned and accepted a
commission with the U.S. Marine Corps Reserve (USMCR). Plaintiff was first considered for
promotion to Major in 2002 by the FY03 Reserve Major’s Selection Board. Indeed, he was
selected for promotion by that Board and scheduled to be promoted on October 1, 2002. That
promotion, however, was delayed pending further consideration of the incident described above.

        From January 14, 2003, to August 6, 2003, plaintiff was recalled to active duty and
deployed to Iraq as part of Operation Enduring Freedom. While plaintiff was in the midst of this
tour, on June 9, 2003, the Commandant of the Marine Corps (the Commandant) submitted a three-
page memorandum to the Secretary of the Navy, recommending that plaintiff remain on the FY03
Major USMCR Promotion List (the 2003 promotion list), despite his prior discipline.2 It is


       1
         These facts are drawn from plaintiff’s complaint and, for purposes of this motion, are
assumed to be correct. See Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007).
       2
          The Commandant’s memorandum is attached to plaintiff’s complaint. The Commandant
based his recommendation, in part, on testimonials received from plaintiff’s chain-of-command. In
this regard, the Commandant wrote:

       The officer-in-charge, Detachment 2, Communications Company, Headquarters and
       Service Battalion, 4 th Force Service Support Group, states that Captain Reilly joined
       the unit approximately 2 years ago and that he has “observed nothing short of
       excellence from him.” The officer-in-charge further states that Captain Reilly has
       demonstrated that “he is an officer of the highest caliber,” that he would rank
       Captain Reilly in the “top ten percent of Marine Corps officers” he has served with,
       and that Captain Reilly was slated to become the officer-in-charge of Detachment 2
       before his name was withheld from the promotion list. The officer-in-charge
       concludes by stating that he would want Captain Reilly by his side, “leading my
       unit if we go into combat,” and recommends that Captain Reilly be promoted. The
       Commanding Officer, Headquarters and Service Battalion, 4th Force Service

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somewhat unclear what happened next. As described in greater detail below, an affidavit supplied
by a Marine officer in 2005 averred that the Commandant, after discussing the matter with the
Secretary of the Navy, changed his recommendation. But, there is no communication from the
Commandant to that effect in plaintiff’s records. Those records instead show that on February 17,
2004, the Secretary of Navy disapproved the Commandant’s promotion recommendation. Yet,
consistent with the view that the Commandant had changed his mind, on May 31, 2004, the Deputy
Undersecretary of Defense submitted a memorandum to the President recommending that plaintiff's
name be removed from the 2003 promotion list, citing, as support for his decision, the
Commandant’s loss of confidence in plaintiff’s abilities as an officer. On June 21, 2004, the
President approved the Deputy Undersecretary’s recommendation.

         Plaintiff could not pursue promotion through the FY04 and FY05 Selection Boards while
still being considered by the FY03 Board. Following resolution of his FY03 selection, in 2005, he
resubmitted his promotion package, but was rejected by the FY06 Selection Board. This second
nonpromotion decision automatically triggered plaintiff’s discharge from the USMCR.

         On June 8, 2005, plaintiff petitioned the BCNR to correct the records pertaining to his
removal from the FY03 Promotion List and failure to be selected for the FY06 list, requesting that
he be returned to the FY03 Promotion List and that his selection failures be rescinded. He claimed
that the President had been misled to believe that the Commandant had recommended that his
name be withdrawn from the promotion list, when, in fact, the Commandant had supported his
promotion. In response, Captain Matthew Spurlock, a lawyer in the Judge Advocate General
Division of the Corps, submitted an affidavit to the BCNR in which he reported a conversation
with Major Pete Gillis, who had worked in the Corps’ Office of Promotions during the relevant
period. Captain Spurlock averred that Major Gillis had “personal knowledge” that, after a
conversation with the Secretary of the Navy, the Commandant had “changed his mind” and
ultimately decided not to support the promotion. When plaintiff’s counsel objected to this affidavit
as being “triple” hearsay, Captain Spurlock produced an affidavit by Major Gillis, in which the
latter backed up Captain Spurlock’s prior claims and, indeed, identified himself as the source of the
information contained in the aforementioned May 31, 2004, memorandum from the Deputy
Undersecretary referenced above. Neither affidavit submitted to the BCNR explained how Major


       Support Group, states that after a “face to face interview, observation of his
       exceptional leadership skills and technical expertise during a drill weekend, and a
       thorough review of all his fitness reports and awards,” she finds Captain Reilly to
       be highly qualified for promotion. The Commanding Officer opines that [the
       incident with female Marine] is inconsistent with Captain Reilly’s behavior and “is
       considered an anomaly from an otherwise sustained record of excellence and high
       standard of conduct.” The Deputy Commander, Marine Forces Reserve, forwards
       the package, recommending approval of promotion.

The recommendation concluded that “[a]lthough Captain Reilly used poor judgment when he
decided to drink to excess more than 5 years ago, this single incident was out of character for
Captain Reilly and I believe it to be a one-time lapse in judgment.”

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Gillis had come by “personal knowledge” of the Commandant’s conversation with the Secretary of
the Navy or why there is no contemporaneous evidence of the Commandant’s changed position in
plaintiff’s records.

         Nevertheless, apparently without a hearing on the matter, on October 14, 2005, the BCNR
denied plaintiff’s application, rejecting his contention that there had been material error or injustice
in the recommendation reported to the President. In so concluding, the BCNR relied squarely on
Major Gillis’ affidavit. It declined to find any inaccuracies in the recommendation sent to the
President, relying on the “presumption of regularity” that accompanies the acts of government
officials. On November 1, 2005, plaintiff was involuntarily discharged from USMCR, despite
having more than seventeen years of service.

        On August 3, 2009, plaintiff filed a complaint in this court, invoking, inter alia, the
Administrative Procedures Act, 5 U.S.C. § 702 et seq., and the Tucker Act, 28 U.S.C. § 1491, and
seeking: (i) constructive service from the time he was removed from the promotion list to date; and
(ii) back pay, allowances, restoration of date and rank and lineal precedence, and any other
emoluments to which he was entitled as a result of his allegedly improper removal from the
promotion list, from the date he should have been promoted in 2003 to the present, plus interest.
Plaintiff also asserted that the BCNR abused its discretion in basing its decision upon the “hearsay
statements” of an officer. On October 23, 2009, defendant filed a motion to dismiss the complaint
under RCFC 12(b)(1) and 12(b)(6). That motion has been fully briefed and was argued on
February 25, 2010.

                                                   II.

         Deciding a motion to dismiss “starts with the complaint, which must be well-pleaded in
that it must state the necessary elements of the plaintiff’s claim, independent of any defense that
may be interposed.” Holley v. United States, 124 F.3d 1462, 1465 (Fed. Cir. 1997) (citations
omitted); see also Bell Atl. Corp., 550 U.S. at 555. The plaintiff must establish that the court has
subject matter jurisdiction over its claims. Reynolds v. Army and Air Force Exch. Serv., 846 F.2d
746, 748 (Fed. Cir. 1988); Hansen v. United States, 65 Fed. Cl. 76, 94 (2005).

        In addition, to survive a motion to dismiss for failure to state a claim under RCFC 12(b)(6),
the complaint must have sufficient “facial plausibility” to “allow [] the court to draw the reasonable
inference that the defendant is liable.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009); see also
Colida v. Nokia, Inc., 347 Fed. Appx. 568, 569-70 (Fed. Cir. 2009). The plaintiff’s factual
allegations must “raise a right to relief above the speculative level” and cross “the line from
conceivable to plausible.” Bell Atl. Corp., 550 U.S. at 555; see also Dobyns v. United States, 91
Fed. Cl. 412, 422-28 (2010) (examining this pleading standard). Nevertheless, the Federal Circuit
has recently reiterated that “[i]n ruling on a 12(b)(6) motion to dismiss, the court must accept as
true the complaint's undisputed factual allegations and should construe them in a light most
favorable to the plaintiff.” Cambridge v. United States, 558 F.3d 1331, 1335 (Fed. Cir. 2009),
cert. denied, 2010 WL 1024020 (U.S. June 21, 2010); see also Bank of Guam v. United States, 578
F.3d 1318, 1326 (Fed. Cir. 2009); Petro-Hunt, L.L.C. v. United States, 90 Fed. Cl. 51, 68 (2009).


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         Plaintiff’s monetary claims allegedly are rooted in the Tucker Act, 28 U.S.C. § 1491. That
statute affords this court jurisdiction over “any claim against the United States founded either upon
the Constitution, or any Act of Congress or any regulation of an executive department, or upon any
express or implied contract with the United States, or for liquidated or unliquidated damages in
cases not sounding in tort.” 28 U.S.C. § 1491(a)(1). “[B]ecause the Tucker Act itself does not
create a substantive cause of action,” the Federal Circuit has adumbrated, “‘in order to come within
the jurisdictional reach and the waiver of the Tucker Act, a plaintiff must identify a separate source
of substantive law that creates the right to money damages.’” Jan’s Helicopter Serv., Inc. v. Fed.
Aviation Admin., 525 F.3d 1299, 1306 (Fed. Cir. 2008) (quoting Fisher v. United States, 402 F.3d
1167, 1172 (Fed. Cir. 2005) (en banc in relevant part)). “In the parlance of Tucker Act cases, that
[statutory] source must be ‘money-mandating.’” Fisher, 402 F.3d at 1172, that is, one that “‘can
fairly be interpreted as mandating compensation by the Federal Government for the damages
sustained.’” United States v. Mitchell, 463 U.S. 206, 216-17 (1983) (quoting United States v.
Testan, 424 U.S. 372, 400 (1976)). Alternatively, a statute can be interpreted as money-mandating
if it grants the claimant a right to recover damages either “expressly or by implication.” Mitchell,
463 U.S. at 217 n.16 (citation omitted); see also Blueport Co., LLC v. United States, 533 F.3d
1374, 1383 (Fed. Cir. 2008), cert. denied, 129 S. Ct. 1038 (2009).

                                                   A.

         Plaintiff asserts that 37 U.S.C. § 204(a)(1), in conjunction with 10 U.S.C. § 1552(c)(1),
supplies the requisite pay-mandating statute.3 While the former statute undoubtedly serves as a
money mandating statute, see Holley, 124 F.3d at 1465, it applies to reserve officers, such as
plaintiff, only when they are removed while on active duty. See Dehne v. United States, 970 F.2d
890, 894 ((Fed. Cir. 1992); Sargisson v. United States, 913 F.2d 918, 920 (Fed. Cir. 1990). And
that did not occur here. Nothing in 10 U.S.C. § 1552 alters this calculus, for that provision is not
money-mandating in its own right, but merely authorizes the Secretary concerned to make
payments found to be due as the result of correcting a military record. See Martinez v. United
States, 333 F.3d 1295, 1315 n.4 (Fed. Cir. 1993), cert. denied, 540 U.S. 1177 (2004); Dehne, 970
F.2d at 894 (section 1552 “does not mandate pay at all”). Nor may plaintiff seek pay under 37
U.S.C. § 206(a).4 While that section entitles members of the reserves to back pay, it applies, with


        3
            37 U.S.C. § 204(a)(1) provides that “a member of the uniform service who is on active
duty . . . [is] entitled to the basic pay of the pay grade to which assigned.” 10 U.S.C. § 1552(c)(1)
states: “The Secretary . . . may pay . . . a claim for the loss of pay, allowances, compensation,
emoluments, or other pecuniary benefits, . . . if, as a result of correcting a record . . . the amount is
found to be due the claimant on account of his . . . service in the Army, Navy, Air Force, Marine
Corps, or Coast Guard . . . .”
        4
            In pertinent part, 37 U.S.C. § 206(a) provides that –

        Under regulations prescribed by the Secretary concerned, and to the extent provided
        for by appropriations, a member of the National Guard or a member of a reserve
        component of a uniformed service who is not entitled to basic pay under section

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exceptions not herein pertinent, only “for regular periods of instruction, periods of appropriate
duty, and for performance of other equivalent duties.” Dehne, 970 F.3d at 893. It follows that,
under this provision, “a reservist is entitled to active duty pay only for the period that he is actually
on active duty.” Barnick v. United States, 591 F.3d 1372, 1379 (Fed. Cir. 2010); see also Greene
v. United States, 65 Fed. Cl. 375, 380 (2005). And this remains true even where the lack of
performance was involuntary and improperly imposed. See Palmer v. United States, 168 F.3d
1310, 1314 (Fed. Cir. 1999); Reeves v. United States, 49 Fed. Cl. 560, 566 (2001). Accordingly,
plaintiff’s complaint, to the extent that he seeks pay for constructive service, fails to state a claim.

         The same fate awaits that portion of plaintiff’s complaint which seeks, for his actual
service, the differential in pay between the rank at which he served and that which he allegedly was
improperly denied. In this regard, the Federal Circuit has held that “[a]s a general matter, a service
member is entitled only to the salary of the rank to which he is appointed and in which he serves.”
Smith v. Sec’y of the Army, 384 F.3d 1288, 1294 (Fed. Cir. 2004); see also James v. Caldera, 159
F.3d 573, 582 (Fed. Cir. 1998). Accordingly, “in a challenge to a decision not to promote, the
Military Pay Act ordinarily does not give rise to a right to the pay of the higher rank for which the
plaintiff was not selected.” Smith, 384 F.3d at 1294; Law v. United States, 11 F.3d 1061, 1064
(Fed. Cir. 1993).

         The only exception to this rule allows for additional compensation to be pursued under the
Military Pay Act where “there is a clear-cut legal entitlement” to the promotion in question,
Skinner v. United States, 594 F.2d 824, 830 (Ct. Cl. 1979), that is, where the service member “has
satisfied all the legal requirements for promotion, but the military has refused to recognize his
status.” Smith, 384 F.3d at 1294; see also Dysart v. United States, 369 F.3d 1303, 1315-16 (Fed.
Cir. 2004). In such cases, a service member is not viewed as asking this court “to order his
promotion but to recognize that it had occurred.” Law, 11 F.3d at 1065; see also Smith, 384 F.3d
at 1294-95. While plaintiff asserts otherwise, it is manifest that he enjoyed no clear-cut legal right
to promotion to the rank of Major. Plaintiff seeks, rather, corrections of his records in hopes that
the President will be persuaded to restore his name to the promotion list. Such allegations,
however, do not trigger the “clear-cut right” exception to the general rule prohibiting awards of
salary for increased rank. See Dysart, 369 F.3d at 1313-15 (officer did not have “clear cut legal



        204 of this title, is entitled to compensation, at the rate of 1/30 of the basic pay
        authorized for a member of a uniformed service of a corresponding grade entitled to
        basic pay –

                (1) for each regular period of instruction, or period of appropriate
                duty, at which the member is engaged for at least two hours,
                including that performed on a Sunday or holiday;

                (2) for the performance of such other equivalent training,
                instruction, duty, or appropriate duties, as the Secretary may
                prescribe . . . .

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right” to promotion when his nomination was confirmed by the Senate and a rear admiral position
became vacant while his name was at the top of the promotion list).

        Plaintiff can point to no other statute or regulation that mandates pay for reserve service
never actually performed or a rank never attained. Absent such authority, plaintiff lacks any basis
for his Tucker Act claims, which must be dismissed for failure to state a claim. See Fisher, 402
F.3d at 1176.

         Nor does this court have jurisdiction to correct the errors plaintiff asserts occurred in his
first promotion review, modify his service records or set aside his involuntary discharge and order
his reinstatement. While this court may address procedural violations alleged to have occurred
during the course of promotion and discharge decisions, it may do so, via 28 U.S.C. § 1491(a)(2),
only “[t]o provide an entire remedy and complete the relief afforded by the judgment.” As the
quoted language intimates, this court “has no power ‘to grant affirmative non-monetary relief
unless it is tied and subordinated to a money judgment.’” James, 159 F.3d at 580 (quoting Austin
v. United States, 206 Ct. Cl. 719, 723, cert. denied, 423 U.S. 911 (1975)).5 In short, as no
monetary relief can be awarded here, this court lacks jurisdiction under 28 U.S.C. § 1491(a)(2) to
order the various forms of nonmonetary relief requested by plaintiff. See Smith, 384 F.3d at 1294-
96; Reeves, 49 Fed. Cl. at 569. This court also lacks, for that matter, jurisdiction over these claims
under the Administrative Procedures Act, 5 U.S.C. § 502, et seq., as jurisdiction over claims
relying upon that statute lies solely in the district courts.6

                                                   B.

        Plaintiff requests that this court transfer his nonmonetary claims to an appropriate district
court under 28 U.S.C. § 1631. The latter section provides:

       Whenever a civil action is filed in a court . . . and that court finds that there is a
       want of jurisdiction, the court shall, if it is in the interest of justice, transfer such
       action . . . to any other such court in which the action . . . could have been brought
       at the time it was filed . . . .

“The statute requires the transferor court to determine both that it lacks jurisdiction and that the
transferee court possesses jurisdiction.” Fisherman’s Harvest, Inc. v. PBS & J, 490 F.3d 1371,
1374 (Fed. Cir. 2007); see also Rodriguez v. United States, 862 F.2d 1558, 1559 (Fed. Cir. 1988).
If those requirements are met, the court must then determine whether the transfer is “in the interest


        5
         See also Eastern Shawnee Tribe of Okla. v. United States, 582 F.3d 1306, 1308 (Fed. Cir.
2009); Fisher, 402 F.3d at 1175; Murphy v. United States, 993 F.2d 871, 873 (Fed. Cir. 1993).
       6
           See, e.g., Martinez, 333 F.3d at 1313 (“[T]he Court of Federal Claims lacks APA
jurisdiction . . . .”); Murphy, 993 F.2d at 874 (“[T]he Claims Court has no authority to invoke the
APA.”); accord Lion Raisins, Inc. v. United States, 416 F.3d 1356, 1370 n.11 (Fed. Cir. 2005)
(“Of course, no APA review is available in the Court of Federal Claims.”).

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of justice.” See Ace Property & Casualty Ins. Co. v. United States, 60 Fed. Cl. 175, 187 (2004),
aff’d, 128 Fed. Appx. 308 (Fed. Cir. 2005); Jackson v. United States, 10 Cl. Ct. 691, 695 (1986).
This section thereby “serves to ‘aid litigants who were confused about the proper forum for
review.’” In re McCauley, 814 F.2d 1350, 1352 (9 th Cir. 1987) (quoting American Beef Packers,
Inc. v. I.C.C., 711 F.2d 388, 390 (D.C. Cir. 1983)). It often comes into play in cases filed against
the United States, where the jurisdictional complexities associated with sovereign immunity and
the warp of waiver statutes can bedevil the most seasoned litigators. See generally, Gregory C.
Sisk, “The Tapestry Unravels: Statutory Waivers of Sovereign Immunity and Money Claims
Against the United States,” 71 Geo. Wash. L. Rev. 602 (2003).

        The first prong of this statutory analysis begs questions as to the nature of the dismissals
here. Consistent with Federal Circuit precedent, the court’s determination that the pled facts in this
case do not support a claim under 37 U.S.C. §§ 204 and 206 results not in a dismissal for lack of
jurisdiction, but for failure to state a claim – a merits determination.7 That ruling, however, begets
the conclusion that this court lacks jurisdiction over plaintiff’s nonmonetary claims – the court has
not decided those claims on the facts alleged, as jurisdiction under section 1491(a)(2) is wholly
lacking. See Brown v. United States, 105 F.3d 621, 624 (Fed. Cir. 1997); Michienzi v. United
States, 207 Ct. Cl. 484, 492 (1975); Austin, 206 Ct. Cl. at 723. And, as noted above, there is no
doubt that the court’s dismissal of plaintiff’s “APA” claims is jurisdictional in nature.

         The decisional law suggests that in a bifurcated resolution such as this – where some claims
are dismissed for failure to state a claim, and others for lack of jurisdiction – the latter may be
transferred. Thus, the Federal Circuit has held that section 1631 “permits the transfer of less than
all of the claims of an action,” observing, inter alia, that it “would indeed be a curious result that a
. . . court could transfer an action under § 1631 containing a single claim over which it lacked
jurisdiction but could not transfer that claim if the claimant made an additional claim in his action
over which the court did have jurisdiction.” United States v. County of Cook, Illinois, 170 F.3d
1084, 1088-89 (Fed. Cir. 1999); see also James, 159 F.3d at 583-84. Other cases confirm that
when a court has jurisdiction over some, but not all, claims, it may transfer those for which
jurisdiction is lacking to another court, assuming the other prerequisites of section 1631 are met.8


        7
           See Fisher, 402 F.3d at 1175-76 (“Assuming that the Court of Federal Claims has taken
jurisdiction over the cause, as a result of the initial determination that plaintiff’s cause rests on a
money-mandating source, the consequences of a ruling by the court on the merits, that plaintiff’s
case does not fit within the scope of the source, is simply this: plaintiff loses on the merits for
failing to state a claim on which relief can be granted.”); see also Jan’s Helicopter Serv., 525 F.3d
at 1307-08; Doe v. United States, 463 F.3d 1314, 1324 (Fed. Cir. 2006), cert. denied, 549 U.S.
1321 (2007); Siemietkowski v. United States, 86 Fed. Cl. 193, 198 (2009).
        8
          See, e.g., Jacobs v. United States, 2010 WL 2594320, at *13 (Fed. Cl. June 23, 2010)
(considering plaintiff’s transfer requests only as to those claims for which jurisdiction was lacking;
other claims dismissed for failing to state a claim); Russell v. United States, 78 Fed. Cl. 281, 289-
90 (2007) (dismissing plaintiff’s takings claim for failure to state a claim upon which relief may be
granted, but transferring other tax claims over which the court lacked jurisdiction to the district

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Based upon these cases, the court holds that the first prong of section 1631 is satisfied here as to
plaintiff’s nonmonetary claims, at least to the extent they are predicated upon the APA.

         Next to be considered is whether a district court would have possessed jurisdiction over
plaintiff’s nonmonetary claims when this suit was filed – in other words, whether the district court
would have had jurisdiction over plaintiff’s nonmonetary claims under the APA. The APA waives
the sovereign immunity of the United States only for “[a]n action in a court of the United States
seeking relief other than money damages.” 5 U.S.C. § 702. In addition, the APA provides that
judicial review of agency action is available only “if there is no other adequate remedy.” 5 U.S.C.
§ 704. Thus, the twin focus of our inquiry must be on whether the claims to be transferred
effectively seek money damages and whether a suit in this court could provide plaintiff with an
“adequate remedy.” See James, 159 F.3d at 579; see also Smith, 384 F.3d at 1292 (citing Mitchell
v. United States, 930 F.2d 893, 895 (Fed. Cir. 1991)).

         Although isolated cases suggest otherwise, cf. Cobell v. Norton, 240 F.3d 1081, 1094-95
(D.C. Cir. 2001), but see Eastern Shawnee Tribe of Okla v. United States, 582 F.3d 1306, 1308-09
(Fed. Cir. 2009); Pueblo of Laguna v. United States, 60 Fed. Cl. 133, 139 n.10 (2004), a litigant
cannot properly invoke the APA by framing a claim for money damages as one requesting a form
of equitable relief. See Consol. Edison Co. v. United States, 247 F.3d 1378, 1385 (Fed. Cir.) (en
banc), cert. denied, 534 U.S. 1054 (2001); see also Christopher Village, L.P. v. United States, 360
F.3d 1319, 1328 (Fed. Cir. 2004), cert. denied, 543 U.S. 1146 (2005); Western Shoshone Nat’l
Council v. United States, 357 F. Supp. 2d 172, 175-76 (D.D.C. 2004), aff’d, 279 Fed. Appx. 980
(Fed. Cir. 2008), cert. denied, 129 S.Ct. 899 (2009). Here, however, plaintiff’s remaining
equitable claims do not presage a present entitlement to a monetary award in any way, let alone one
for “damages.” See James, 159 F.3d at 580. Indeed, the discussion above, in emphasizing that a
reservist may neither obtain compensation for constructive service nor additional compensation for
a rank unobtained, serves to illustrate just how divorced plaintiff’s nonmonetary claims under the
APA are from anything that would lead to money damages. See Millican v. United States, 2006
WL 5640829, at *11-12 (Fed. Cl. Aug. 24, 2006). That the record corrections and other ancillary
relief he seeks might affect his rank or duty status, and thus lead to his receiving additional pay or
enhanced benefits in the future, does not alter this reality. See Vietnam Veterans of Am. v. Sec’y of
the Navy, 843 F.2d 528, 534 (D.C. Cir. 1988) (“a claim is not for money merely because its
success may lead to pecuniary costs for the government or benefits for the plaintiff”); Calloway v.
Brownlee, 366 F. Supp. 2d 43, 52 (D.D.C. 2005); see also Crane v. United States, 41 Fed. Cl. 338,




court); Taylor v. United States, 73 Fed. Cl. 532, 547 (2006) (same); see also Schmidt v. United
States, 89 Fed. Cl. 111, 125 (2009) (several claims dismissed for lack of jurisdiction, one of which
was transferred to district court); Gray v. United States, 69 Fed. Cl. 95, 102-03 (2005) (same);
McCann v. United States, 12 Cl. Ct. 286, 289-90 (1987) (transferring case after plaintiff amended
its complaint to remove all prayers for monetary recovery).

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341 (1998).9 Accordingly, plaintiff’s nonmonetary claims meet the requirements of 5 U.S.C. §
702.

         They also appear to satisfy the “no other adequate remedy” requirement of 5 U.S.C. § 704.
The purpose and effect of this provision, of course, is to make clear that the APA “does not
provide additional judicial remedies in situations where the Congress has provided special and
adequate review procedures.” Attorney General's Manual on the Administrative Procedure Act §
10(c), p. 101 (1947); see also Bowen v. Massachusetts, 487 U.S. 879, 903 (1988). Generally
speaking, this requirement focuses not on the availability of a remedy to a particular plaintiff in a
given case, but rather on the adequacy of a remedy to a category of claimants. See Martinez, 333
F.3d at 1320; see also Bowen, 487 U.S. at 927 (Scalia, J., dissenting). In making the latter
determination, it is absolutely clear – at least in this circuit – that this court’s general inability to
grant equitable relief does not mean that it cannot afford an “adequate remedy” at law. See
Christopher Village, 360 F.3d at 1327-28; Consol. Edison Co., 247 F.3d at 1382-84; see also
Martinez, 333 F.3d at 1320. That said, whether this case is viewed from plaintiff’s individual
perspective or, more categorically, from that of any reservist improperly denied a promotion and
discharged for that reason, it remains that this court cannot provide any viable remedy to address
such claims (let alone an adequate one). Accordingly, plaintiff’s nonmonetary claims appear to
meet both prongs of the APA’s jurisdictional requirements, leading to the conclusion that they, in
fact, are subject to APA review.10

         It is still necessary, of course, to determine whether a transfer is “in the interest of justice.”
When considering this issue, the court must weigh “‘the equities of dismissing a claim when it
could be transferred.’” Ruiz v. Mukasey, 552 F.3d 269, 276 (2d Cir. 2009) (quoting Liriano v.
United States, 95 F.3d 119, 122 (2d Cir. 1996)). Because “the term ‘interests of justice’ is vague,”
a court is entitled to “a good deal of discretion in reaching its determination.” Phillips v. Seiter,
173 F.3d 609, 610 (7 th Cir. 1999). There is little debate that a transfer serves the interests of justice
if a new action filed by the litigant would be barred as untimely. See Texas Peanut Farmers v.
United States, 409 F.3d 1370, 1375 (Fed. Cir. 2005); see also 17 James Wm. Moore, Moore’s
Federal Practice § 111.52 (3d ed. 2010) (hereinafter “Moore’s Federal Practice”). But, even if that
is not the case, transfers of actions filed in good faith generally are viewed as minimizing


        9
          This is not to say that a discharged service member may split a military employment
claim into monetary and equitable components so as to effectuate separate adjudications. See
Gregory Sisk, “The Tapestry Unravels: Statutory Waivers of Sovereign Immunity and Money
Claims Against the United States,” 71 Geo. Wash. L. Rev. 602, 651 (2003) (criticizing cases
permitting this).
        10
          See Gillan v. Winter, 474 F.3d 813, 817 (D.C. Cir. 2007) (reviewing BCNR decision
under the APA as a final agency decision); James, 159 F.3d at 580 (holding that an equitable
record correction claim fell within the APA’s waiver of sovereign immunity); Millican, 2006 WL
5640829, at *12 (requests for review of decision to remove officer’s name from promotion list “are
claims which a federal district court would have jurisdiction to review, under the APA”); see also
Blassingame v. Sec’y of the Navy, 811 F.2d 65, 68 (2d Cir. 1987).

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transaction costs and expediting review, thereby furthering the interests of justice. See Ruiz, 552
F.3d at 276; Butler v. United States, 442 F. Supp. 2d 1311, 1317 (Ct. of Int’l Trade 2006); see also
Miller v. Hambrick, 905 F.2d 259, 262 (9 th Cir. 1990) (“Normally transfer will be in the interest of
justice because normally dismissal of an action that could be brought elsewhere is ‘time-consuming
and justice-defeating.’” (quoting Goldlawr, Inc. v. Heiman, 369 U.S. 463, 467 (1962))); 17
Moore’s Federal Practice § 111.52.

        In the case sub judice, relevant considerations militate heavily in favor of a finding that the
interests of justice are best served by transferring plaintiff’s APA claims. Although plaintiff’s
claims likely would be timely if filed anew in the district court, see 28 U.S.C. § 2401(a)
(establishing a six-year statute of limitations for APA review), a transfer undoubtedly would
expedite their review. Moreover, every indication is that these claims have been raised in good
faith and are not frivolous, prompted by what appear to be bona fide concerns regarding the
propriety of the procedures that were employed by the Corps in dealing with plaintiff’s promotion
and by the BCNR’s action in resolving inconsistencies in plaintiff’s promotion record on the basis
of an affidavit filed by a Major claiming, without explanation, to have “personal knowledge” of a
conversation between the Commandant and the Secretary of the Navy.11

         At oral argument, plaintiff requested that any transfer be to the United States District Court
for the District of Columbia. The statute governing the selection of venue for APA actions, 28
U.S.C. § 1391(e), indicates that venue in that court is proper and the court will thus accommodate
plaintiff’s request.

                                                   III.

        Based on the foregoing, the court GRANTS, in part, and DENIES, in part, defendant’s
motion to dismiss, holding that plaintiff’s monetary claims fail to state a claim upon which relief
may be granted. The Clerk is hereby ordered to dismiss those portions of plaintiff’s complaint.
Pursuant to 28 U.S.C. § 1631, the court hereby TRANSFERS the remainder of this lawsuit,
constituting plaintiff’s nonmonetary claims predicated upon the APA, to the United States District
Court for the District of Columbia. No costs.

        IT IS SO ORDERED.


                                                          s/ Francis M. Allegra
                                                          Francis M. Allegra
                                                          Judge



        11
           While defendant argues that the issues springing from these matters are nonjusticiable,
those arguments cite Tucker Act precedents arising within this circuit. It would appear best to
allow the district court, in the first instance, to consider whatever justiciability arguments arise in
the APA context, consistent with D.C. Circuit precedent.

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